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                                                                                   ff d fi_fl[_$
                                                                UNITEDSTAiES DISTIIIC,T COUF]I
                                                                   TJUQI-J['F]QLJI:'
                                                                                IJTUiI'4FXI{jO
                            IN THE UNITED STATES DISTRICT COIIRTAI
                                                                                   JAN2 0 2007
                              FOR THE DISTRICTOF NEW MEXICO

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                                                                                 EW J DYKflV'!AR,J
UNITED STATESOF AMERICA.
                                                                                     ci tr_i-tK
               Plaintiff,

       VS.                                                CzuMINALNO. 05-1849JH

ADRIAN SANFORD,

               Defendant.


                                      PLEAAGIBEEMENT

       Pursuantto Rule 11, Fed.R. Crim. P., the partiesherebynotify the Court of the following

agreementbetween the United StatesAttorney for the District of New Mexico, the defendant,

ADRIAN SANFORD, and the defendant'scounsel,ROBERT R. COOPER:

                               REPRESENTATION BY COUNSEL

        1.     The defendantunderstandshis right to be representedby an attorney and is so

represented. The defendanthas thoroughl'; reviewed all aspectsof this casewith his attomey and

is fully satisfied with that attorney'slegal renresentation.

                                RIGHTS OF THEJ'EFENDANT

       2.      The defendantfurtherunderstanrXs
                                             his rishts:

               a.      to pleadnot guilty;

               b.      to have atialby jury;

               c.      to confront and cross-eraniinewitnessesand to call witnessesin his
                       defense;and

               d.      againstcompelleds:lr: iniri.mination.
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                     WAIVER OF RIGHTS AND PLEA OF GUILTY

       3.     The defendanthereby agreesto waive theserights and to plead guilty to Count I

of the SupersedingIndictmentin this cass.ahartiigg
                                                 violation of 2l U.S.C. $ 846, that being

conspiracyto distribute 1000 kilograms and more of marijuana.
                                        ' , : ' . . .,.::
                                       SENTENCING

       4.     The defendantunderstandsthat the minimum and maximum penaltiesthe Court

can imposeas to Count I are:

              a.     imprisonment for a penod of not less than ten (10) yearsnor more than
                     life;

              b.     a ftne not to exceedthe greaterof $4,000,000.00or twice the pecuniary
                     gain to the defendantor pecuniary loss to the victim;

              c.     a mandatory term of supervisedreleaseof not less than five (5) years that
                     must follow any term of innprisonment(if the defendantservesa term of
                     imprisonment, is theh releasedon supervisedrelease,and violates the
                     conditions of supenised release,the defendant'ssupervisedreleasecould
                     be revoked - even cntthe'last day of the term - and the defendantcould
                     then be returnedto anotherperiod of incarcerationand a new term of
                     supervisedrelease); .

              d.     a mandatoryspecialpenaltyassessment
                                                      of $100.00;and

              e.     restitution as may be ordeied ilv the Court.

       5.     The defendantunderstandsand agreesthat sentencingwill be pursuantto the

SentencingReform Act of 1984,which requiresthe sentencingCourt to consider applicable

advisory sentencingguideline rangesin deterrhinli,rgthe appropriatesentence.Notwithstanding
                                          I   i,



such advisory guidelines,the defendant fully understands that no one can predict with
                                       , , , , , ." '
certainty what sentencethe Court will impose. The determination of the actual sentence
                                        ','
imposed is solely in the reasonablediscretion of the Court.
                                               ,li

                                               z_
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        6.      The United Stateshereby expresqlyreservesthe right to make known to the United

StatesProbation Office, for inclusion in the presentencereport preparedpursuantto Rule 32, Fed.
                                            i,,


R. Crim. P., any information that the United Statesbelievesmay be helpful to the Court.

                                         STIPULATIONS

        7.      The United Statesand the defendantstipulate as follows:

                a.     At least 100 but lessthari 4f)0 kilograms of marijuarnare attributable to the

defendant. Accordingly, the parties agreethat the defendant'sbaseoffense level is 26, pursuantto

U.S.S.G.$ 2D1.1(c)(7).

               b.      Providedthatthedefendairtmeetstherequirementsof
                                                                 18U.S.C.$ 3553(0(1)-

(5), the defendant'sbaseoffenselevel shorlldbe decreased
                                                       by two (2) levelspursuantto U.S.S.G.

$ 2D1.1(bX6), and the defendantshould be sentencedwithout regard to the statutory mandatory

minimum. The United States agreesthat'the defendantmeets the requirementsof U.S.S.G.
                                                       '
$ 5C1.2(a)(2),(3), (4), and (5).                   .

               c.      As of the date of this agreernent,the defendanthas clearly demonstrateda

recognition and affirmative acceptance of personal responsibility for his criminal conduct.

Consequently,pursuant to U.S.S.G. $ 3E1.1, so long as the defendant continues to accept

responsibility for his criminal conduct,he is entitled to a reduction of three (3) levels from the base

offense level as calculated under the sentericingguidelines. This reduction is contingent upon the

defendant personally providing an appropnate oral or written statement to the United States

Probation officer who preparesthe presentencereport in this casein which the defendantclearly

establisheshis entitlement to this reduction.




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       8.      The defendantunderstandsthbt the above stipulations are not binding on the Court

and that whether the Court acceptstheseslipulations is a matter solely within the discretion of the

Court after it hasreviewed the presentencerepon. Further,the defendantunderstandsthat the Court

may chooseto deviatefrom the advisorygr.ridelinesentence.The defendantunderstandsand agrees

that if the Court doesnot aoceptany one or more of the abovestipulations and reachesan advisory

guideline sentencedifferent than expected by the defendant, or if the Court deviates from the

advisory guideline range,the defendantwiil not seekto withdraw the plea of guilty. In other words,

regardlessof any stipulations the parties may enter into, the defendant's final sentenceis solely

within the discretion of the Court.

                      DEFENDANT'S ADDI"IIONAL OBLIGATIONS

       g.      The defendantunderstandshis ohligation to provide the United StatesProbation

Office with truthful, accurate,and completeinforinatierr. The defendantherebyrepresentsthat he

has complied with and will continueto comply,r,rthrhis obligation.

                              GOVERNMENT'SAGREEMENT

       11.     Providedthat the defendantfulfillshis obligationsas setout above,the United States

agreesthat it will not bring additional chargesagainstthe defendantarising out of the defendant's

conductnow known to the United States,,\ttorney's
                                                Office for the District of New Mexico.

       12.     This agreementis limited to the United StatesAttorney'sOffice for the District of

New Mexico and doesnotbind anyotherfederai,state.or local agenciesorprosecutingauthorities.




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                                     VOLUNTA.B)' PLEA

       13.     The defendantagreesand i'epresenisthar ihis plea of guilty is freely and voluntarily

made and not the result of force or threats or o{'prcimisesapart from those set forth in this plea

agreement.

                           VIOLATION OF P[;EA AGREEMENT

        14.    The defendantunderstandsand agreesthat if he violates any provision of this plea

agreement,the United Statesmay declarethis plea agreementnull and void, and the defendantwill

thereafter be subject to prosecution for anv cnminal violation including, but not limited to, any

crime(s) or offense(s)containedin or relatedto the SupersedingIndictment in this case,as well as
                                                         '
perjury, false statement,and obstruction oLltistrce. '

                                ENTIRETY OF"A.GREEMENT

       15.     This documentis a completestatementof the agreementin this caseand maynot be

alteredunless done so in writing and signedby'aJl parties.

       AGREEDTO AND SIGNEDtrris'?#A ayaf                     ttu.v.^t^/tg" ,2007.

                                                     DAVID C. IGLESIAS
                                                ,    Unit"d StatesAttorney




                                                     AssistantUnited StatesAttomey
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      I have read this agreementand carefuily reviewed every part of it with my attorney.
understandthe agreementand voluntarily sign it.




                                                  fu->
                                                ROBERTR. COOPER
                                                Attornevfor Defendant
